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                                             March 6, 2019

  Via ECF

  Honorable Michael A. Hammer
  United States Magistrate Judge
  United States District Court for the District of New Jersey
  50 Walnut Street 2C
  Newark, New Jersey 07101

           Re:      Hager v. Nat’l Recovery Agency
                    Case No.: 2:17-cv-07450-MCA-MAH

  Dear Judge Hammer:

         This firm represents defendant National Recovery Agency (“NRA”) in the above-referenced
  matter. We respectfully write to provide the Court with a status letter, pursuant to Your Honor’s
  January 9, 2019 Order, and in advance of the impending March 14, 2019 status conference.

          As you are aware, Plaintiff Amanda Hager (“Plaintiff”) accepted NRA’s FED. R. CIV. P. 68
  Offer of Judgment on December 15, 2017, and the parties have attempted to resolve the outstanding
  issue of reasonable attorney’s fees and costs ever since. Ultimately, Plaintiff filed a Fee Petition on
  November 19, 2018, to which NRA timely opposed, and Plaintiff subsequently replied.

           Given the parties’ inability to reach an agreement concerning reasonable attorney’s fees and
  costs, if the District Court so desires, NRA respectfully defers and consents to Your Honor in deciding
  Plaintiff’s pending Motion for Attorney Fees on a report and recommendation. The parties have
  conferred on the matter, informing one another of their respective positions.

                                                Respectfully submitted,

                                                GORDON REES SCULLY MANSUKHANI, LLP

                                                /s/ R. Andrew Scott

                                                R. ANDREW SCOTT


  cc:      All Counsel of Record (via ECF)



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